  JS 45(11/2002)                                           REDACTED
 Criminal Case Cover Sheet                                                                                                         U.S. District Court


 Place of Offense:                                 Under Seal: Yes □              No lEl      Judge Assigned:
 Citv:     EDVA               Superseding Indictment:                                         Criminal Number: 2:20cr9Q
 County/Parish:               Same Defendant:                                                 New Defendant: TONYA SAXBY

                              Magistrate Judge Case Number:                                   Arraignment Date:
                              Search Warrant Case Number:
                              R 20/R 40 from District of
 Defendant Information:

Juvenile: Yes □ No            FBI#
 Defendant: TONYA SAXBY                                                  Alias Nanie(s);
Address: Chesapeake, VA
 Birth Date: xx-xx-1974 SS#: xxx-xx-xxxx           Sex: F                Race: W Nationality: USA [Place of Birth:
 Height:           Weight:
                                                                                           Scars/Tattoos:
                                      Hair: BRO                          Eyes: BRO
Interpreter: Yes □
No iEl                     List Language and/or dialect:
                           State ID:

Location Status:

 Arrest Date:                                                        |
 □ Already in Federal Custody as of:              in:
 □ Already in State Custody                             □ On Pretrial Release                                   K Not in Custody

 □ Arrest Warrant Requested                             □ Fugitive                                              □ Summons Requested for

□Arrest Warrant Pending                                 □ Detention Sought                                      □ Bond

 Defense Counsel Information:

Name: George H. Yates                                   □ Court Appointed
Address: 1023 Laskin Road, Suite 101
         Virginia Beach, VA 23451                       M Retained
Telephone: 757-785-0201                                 □ Public Defender

Email: gyates(^ghylaw.com



 U.S. Attorney Information:

AUSA: Alan M. Salsbury                                                   Telephone No. 757-441-6331                  Bar#:

Complainant Agency. Address & Phone Number or Person & Title:

 Special Agent Julie Shields (FBI) 509 Resource Row, Chesapeake, VA
U.S.C. Citations:

                   Code/Section                    Description of Offense Charged                     Count(s)           Capital/Felony/Misd/Petty
 Set I             18 U.S.C. § 1341                              Mail Fraud                                 1        Felony

 Set 2
 Set 3
